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UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF MISSOURI


  In re:                                                            Chapter 7

  Michael Thomas Milliman,                                          Case No. 23-60322 (CAN)

                        Debtor.


  “LILIY,” “SARAH,” “SOLOMON,” “HENLY,”
  WILLIAM L.E DUSSAULT as Guardian ad litem for
  “VIOLET,” a minor, JANE ROE, as next of friend of                 Adv. Proc. No.: 23-______
  “PIA,” a minor, “JENNY” and “FIONA,”
                                                                    Jury Trial Demanded
                                                     Plaintiffs,

                               v.

  MICHAEL THOMAS MILLIMAN,

                                                   Defendant.

           COMPLAINT TO DETERMINE NON-DISCHAGEABILITY OF DEBT
             PURSUANT TO SECTON 523 OF THE BANKRUPTCY CODE

       Plaintiffs, on their own behalf and by their corresponding next friends as indicated, and

through their undersigned counsel, as and for their complaint (the “Complaint”) against

defendant Michael Thomas Milliman (the “Defendant”), a debtor in the above-captioned case

under chapter 7 of Title 11 of the United States Code (the “Bankruptcy Code”), allege upon

information and belief as follows:

                                        INTRODUCTION

       1.      The Defendant pled guilty to viewing child pornography which depicted images

of Plaintiffs. Defendant was sentenced to a period of 36 months’ imprisonment and directed to

pay restitution to his eleven (11) victims. Plaintiffs also commenced an action under section
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2255(a) of Title 18 of the United States Code (“Title 18”), which allows victims of child

pornography to recover, among other things, liquidated damages in the amount of $150,000.

Defendant’s debts to Plaintiffs are nondischargeable pursuant to section 523 of the Bankruptcy

Code

                                            PARTIES

               2.      “Lily” is currently an adult and resides outside the state of Missouri.

               3.      “Lily” is the pseudonym for the victim depicted in the Vicky child

pornography series.

               4.      “Sarah” is currently an adult and resides outside the state of Missouri.

               5.      “Sarah” is the pseudonym for the victim depicted in the Marineland1 child

pornography series.

               6.      “Solomon” is currently an adult and resides outside of the state of

Missouri.

               7.      “Solomon” is the pseudonym for the victim depicted in the J_blonde child

pornography series.

               8.      William L.E. Dussault is an attorney licensed in the States of Washington

and Colorado and has been appointed Guardian ad Litem for “Violet” who is a minor and resides

outside the state of Missouri.

               9.      “Violet” is a pseudonym for the victim depicted in the At School child

pornography series.

               10.     Jane Roe is a pseudonym for “Pia’s” mother and acts as Next Friend for

“Pia” who is a minor and resides outside the state of Missouri.
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                 11.   “Pia” is a pseudonym for a victim depicted in the Sweet White Sugar child

pornography series.

                 12.   “Henley” is currently an adult and resides outside the state of Missouri.

                 13.   “Henley” is the pseudonym for the victim depicted in the BluePillow1

child pornography series.

                 14.   “Jenny” is currently an adult and resides outside the state of Missouri.

                 15.   “Jenny” is a pseudonym for the victim of the Jenny child pornography

series.

                 16.   “Fiona” is currently an adult and resides outside the state of Missouri.

                 17.   “Fiona” is a pseudonym for a victim depicted in the BluesPink1 child

pornography series.

                 18.   Each of the plaintiffs is a person sexually abused as a child and who is

depicted in images of child pornography seized from defendant’s possession.

                 19.   The Defendant is an adult currently in the custody of the United States

Bureau of Prisons.

                 20.   On information and belief, the defendant resided in this district prior to his

incarceration.

                                JURISDICTION AND VENUE

                 21.   This Court has jurisdiction over this proceeding pursuant to 28 U.S.C.

§1334, which is a core proceeding pursuant to 28 U.S.C. §157(b)(2). Venue is proper before this

Court pursuant to 28 U.S.C. §1409.
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                              BASIS FOR RELIEF REQUESTED

               22.     This adversary proceeding is initiated pursuant to section 523 of the

Bankruptcy Code.

                                              FACTS

               23.     Defendant was charged in the United States District Court, Western

District of Missouri, in the matter denominated United States v. Michael Milliman, WDMO

Southern Division, Case No. CR 19-03174-01-CR-S-MDH (the “Criminal Case”), with the crime

of Possession of Child Pornography in violation of 18 USC 2252(a)(4)(B) and (b)(2). This crime

was alleged to have been committed between January 1, 2015 and February 26, 2019.

               24.     On April 19, 2021, Defendant pleaded guilty to this child pornography

offense and was sentenced with a judgment entered against him on July 28, 2021. See Criminal

Case Docket Nos. 34, 36. Defendant was sentenced to a period if incarceration of thirty-six (36)

months. See Criminal Case Docket No. 47.

               25.     As a part of sentencing, Defendant and the United States entered a

stipulation which expressly required Defendant to pay restitution to each of the Plaintiffs in this

case. The Court presiding over the Criminal Case entered an order of restitution for $55,000.

See Criminal Case Docket Nos. 47, 48.

               26.     Plaintiffs have each elected to receive notices via the United States

Department of Justice Victim Notification System (VNS) which alerts them when they are

potential victims in investigations by federal law enforcement agencies.

               27.     Child Victim Identification Program (CVIP) analysts at the National

Center for Missing and Exploited Children (NCMEC) matched child pornography images on the

Defendant’s computer to child pornography images of Plaintiffs in NCMEC’s database and
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 notified the government of its findings in a CVIP report. Upon information and belief, this CVIP

report was supplied to the Defendant’s criminal defense attorney.

               28.     On December 19, 2019, Plaintiffs first received notice from VNS that their

child pornography images were among those possessed by Defendant in violation of federal

child pornography law.

               29.     On December 28, 2022, Plaintiffs commenced an action under section

2255 of Title 18 seeking damages from Defendant. “LILY,” et al. v. Milliman, Case No. 6:22-

cv-3329 (W.D. Mo. 2022).

               30.     Plaintiffs have suffered a personal injury as a result of Defendants child

pornography crimes.

                                FIRST CAUSE OF ACTION
            (for determination that the debt due to Plaintiffs is non-dischargeable)
                                     (11 U.S.C. §523(a)(6))

               31.     Plaintiffs repeat and reallege each of the allegations set forth above as

through fully set forth herein.

               32.     Defendant viewed child pornography depicting Plaintiffs while they were

minors.

               33.     Defendant is liable to Plaintiffs, including pursuant to section 2255 of

Title 18.

               34.     Plaintiffs suffered willful and malicious injury by Defendant by his

viewing child pornography images of Plaintiffs.

               35.     Defendant’s conduct, as alleged above, precludes him from obtaining a

discharge of his debt to Plaintiffs pursuant to section 523(a)(6) of the Bankruptcy Code
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                              SECOND CAUSE OF ACTION
           (for determination that the debt due to Plaintiffs is non-dischargeable)
                                   (11 U.S.C. §523(a)(13))

               36.     Plaintiffs repeat and reallege each of the allegations set forth above as

through fully set forth herein.

               37.     Defendant viewed child pornography depicting Plaintiffs while they were

minors.

               38.     Defendant is liable to Plaintiffs, including pursuant to an order of

restitution under Title 18.

               39.     Defendant’s conduct, as alleged above, precludes him from obtaining a

discharge of his debt to Plaintiffs pursuant to section 523(a)(13) of the Bankruptcy Code



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      WHEREFORE, Plaintiffs pray for judgment as follows:

          a. On Count I, for a determination that the debt owed by defendant to each Plaintiff

             is not dischargeable pursuant to 11 U.S.C. §523(a)(6); and

          b. On Count II, for a determination that the debt owed by defendant to each Plaintiff

             is not dischargeable pursuant to 11 U.S.C. §523(a)(13); and

          c. Awarding prejudgment interest to each plaintiff; and

          d. Awarding to each Plaintiff the costs of suit incurred herein; and

          e. For such other relief as the Court may find just and proper.

                                    Respectfully submitted,

                                    PACHULSKI STANG ZIEHL & JONES LLP.

Dated: September 26, 2023           /s/ Ilan D. Scharf
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